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9                       IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
10    RONALD RONALD et al.,          )              Case No. 5:15-02518 ODW (KKx)
11                                   )
                          Plaintiff, )              ORDER GRANTING JOINT
12                                   )              MOTION FOR DISMISSAL OF
           vs.                       )              ACTION WITH PREJUDICE
13                                   )
      CREDENCE RESOURCE MANAGEMENT )
14                                   )
      LLC,                           )
15                                   )
                          Defendant.
16
17          Based upon the Joint Motion for Dismissal, and for good cause appearing, the
18    Court GRANTS the Joint Motion for Dismissal. This action is DISMISSED WITH
19    PREJUDICE. Based on the Notice of Withdrawal (ECF No. 26), the Court DENIES
20    AS MOOT the prior Motion to Dismiss (ECF No. 25.) The Clerk shall close the case.
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23    IT IS SO ORDERED.
24
25    DATED: October 17, 2016              ________________
                                                Honorable Otis D.Wright, II
26                                              UNITED STATES DISTRICT JUDGE

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